

Vioni v Carey &amp; Assoc., LLC (2021 NY Slip Op 01880)





Vioni v Carey &amp; Assoc., LLC


2021 NY Slip Op 01880


Decided on March 25, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 25, 2021

Before: Manzanet-Daniels, J.P., Kern, Moulton, Shulman, JJ. 


Index No. 154928/17 Appeal No. 13447 Case No. 2020-01475 

[*1]Lisa Vioni, Plaintiff-Respondent,
vCarey &amp; Associates, LLC, et al., Defendants-Appellants.


Carey &amp; Associates LLC, New York (Michael Q. Carey of counsel), for appellants.
Corey Stark, PLLC, New York (Corey Stark of counsel), and The Dweck Law Firm, LLP, New York (H.P. Sean Dweck of counsel), for respondent.



Order, Supreme Court, New York County (Anthony Cannataro, J.), entered on or about January 30, 2020, which, inter alia, dismissed defendants' counterclaims for unpaid fees for services rendered before they failed to comply with a deadline set in an action in federal court, unanimously affirmed, without costs.
The counterclaims were properly dismissed. Unlike a discharge without cause, where "the attorney is limited to recovering in quantum meruit the reasonable value of the services rendered . . ., [w]here the discharge is for cause, the attorney has no right to compensation or a retaining lien, notwithstanding a specific retainer agreement" (Campagnola v Mulholland, Minion &amp; Roe , 76 NY2d 38, 44 [1990]). As defendants do not challenge Supreme Court's finding, after a hearing, that plaintiff terminated them for cause in the prior action, recovery of unpaid fees is barred.
We have considered defendants' remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 25, 2021








